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                                   IN THE UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                           FORT WORTH DIVISION

BETH CHANEY MACNEILL,                  §
                                       §
      Plaintiff,                       §
                                       §
      v.                               § CIVIL ACTION No. 4:2014-cv-00242-O
                                       §
NIRMAL JAYASEELAN, M.D., DOMINGO §
K. TAN, M.D., CHAD CARLTON, M.D.,      §
TEXAS HEALTH HARRIS METHODIST          §
HOSITAL FORT WORTH, EMERGENCY          §
MEDICINE CONSULTANTS LTD.,             §
BAYLOR ALL SAINTS MEDICAL CENTER §
AT FORT WORTH AND EMCARE, INC.         §
                                       §
      Defendants.                      §
 ___________________________________________________________________________

                                        STIPULATION OF DISMISSAL

  ___________________________________________________________________________

  TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

  Plaintiff and defendant file this stipulation of dismissal under Federal Rule of Civil
Procedure 41(a)(1)(A)(ii).

      1. Plaintiff is Beth Chaney MacNeill; defendant is EmCare, Inc.

      2. On April 8, 2014, plaintiff sued defendant.

     3. Plaintiff moves to dismiss all claims against EmCare, Inc. arising from alleged
  violations of the Emergency Medical Treatment and Active Labor Act 42 U.S.C.A. §1395dd
  stemming from the medical care rendered to Beth Chaney MacNeill in April of 2012.

      4. Defendant, who has served an answer, agrees to the dismissal.

    5. This case is not a class action under Federal Rule of Civil Procedure 23, a derivative
  action under Rule 23.1, or an action related to an unincorporated association under Rule 23.2.

      6. A receiver has not been appointed in this case.

     7. This case is not governed by any federal statute that requires a court order for dismissal
  of the case.


MacNeill/Plead/Stip of Dismissal                                                           1
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     8. Plaintiff has not previously dismissed any federal- or state-court suit based on or
  including the same claims as those presented in this case.

      9. This dismissal is with prejudice.

                                                   Respectfully submitted,




                                                  _s/ Robert Hammer______________
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                                   CERTIFICATE OF SERVICE

      I hereby certify that on October 16, 2014, I electronically filed the forgoing with the clerk

  for the U.S. District Court, Northern District of Texas, using the ECF system which will send

  notification of such filing to the following counsel of record:


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